                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

GLOBAL FORCE ENTERTAINMENT, INC.   )
and JEFFREY JARRETT,               )
                                   )
        Plaintiffs,                )
                                   )
    v.                             )                           No. 3:18-cv-00749
                                   )
ANTHEM WRESTLING EXHIBITIONS, LLC, )
                                   )
        Defendant.                 )

                                              ORDER

        In accordance with the discussions at the final pretrial conference on June 19, 2020, the Court

confirms the following:

        (1) The Court will call 28 prospective jurors for the trial who are qualified and willing to

serve. Nine jurors will be seated. The Court will cover any issues related to COVID-19. Should

the parties have additional, non-COVID-19, questions that they prefer the Court to ask the jury, those

questions shall be submitted by or before 12:00 noon on June 24, 2020.

        (2) Voir dire questioning will be limited to 30 minutes per side, as will opening statements.

During this questioning and all arguments, counsel are limited to discussing the issues in the case

and shall not try to curry favor with the jury by speaking about personal matters, such as a favorite

sports team or the accomplishments of a child.

        (3) Trial will begin on Monday, June 29, 2020 and continue through Thursday, July 2, 2020.

If necessary, the trial will then resume on Monday, July 6, 2020, and conclude on Tuesday, July 7,

2020.

        (4) Each trial day will begin at 9:00 a.m., and conclude around 4:30 to 5:30 p.m. If the jury




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prefers, the start time and end time may be changed. There will be mid-morning, lunch, and mid-

afternoon breaks of about ½ hour each.

        (5) A corporate representative for each party will be present all day, each day that the trial

is in session.

        (6) The following shall pertain to exhibits:

                 (a) Exhibits will be shown to the witnesses and jurors electronically

                 from counsel’s laptop.

                 (b) Exhibits will be numbered sequentially.

                 (c) Duplicate exhibits shall be eliminated.

                 (e) Impeachment exhibits shall be loaded on a flash drive, and hard

                 copies shall be provided to opposing counsel and the Court at the

                 appropriate time.

                 (f) Documents used to refresh a witness’s memory shall be placed in

                 a plastic sleeve and given to the Court Security Officer, who will

                 deliver it to a witness.

                 (g) Physical evidence shall be placed on the table adjacent to the

                 witness stand before trial.

                 (h) The parties shall provide the Court with three hard copies of the

                 exhibits placed in a binder with tabs and a table of contents.

                 (I) The parties may select a discrete number of exhibits (no more than

                 10 collectively) that they want to present to the jury in a hard-copy

                 format. Those exhibits must be placed in one binder for each juror,


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                for a total of 9 binders. It will be counsels’ obligation to insure that

                the binders contain only exhibits that have been admitted into

                evidence.

        (7) In addition to any questions the parties want the Court to ask the jury during voir dire, the

following shall be accomplished on or before 12:00 noon on June 24, 2020:

                (a) An agreed statement of the case shall be filed, consisting of no

                more than 2 pages.

                (B) The parties shall submit an agreed set of instructions on the

                elements and legal issues/definitions surrounding each claim. If the

                parties cannot reach an agreement, they shall report to the courtroom

                at 9:00 a.m. on June 24, 2020, whereupon accommodations will be

                made for them to discuss the disputed instructions in person until an

                agreement has been reached.

                (c) Counsel shall meet in person in an effort to stipulate as many facts

                as possible, and reach agreement on the authenticity and admissibility

                of exhibits to the greatest extent possible.

                (d) Demonstrative exhibits, or exhibits to be used during opening

                shall be shown to opposing counsel.

        (8) Bench conferences will not be held unless absolutely necessary. Any possible issues that

may come up during a witness’s testimony shall be anticipated to the greatest extent possible and

brought to the Court’s attention, so that they may be discussed before trial, during the lunch break,

or at the end of the trial day.


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        (9) Designations of deposition excerpts shall be filed by the close of business on June 22,

2020. Each party shall use a different color to identify the testimony they want to use at trial. The

disputed designations shall be of a third color. For each dispute, the parties shall provide a short

reason or reasons as to why that testimony should or should not be introduced at trial.

        (10) Each witness will be called only once and shall testify as to all relevant matters. Where

a defense witness is called as a part of plaintiff’s case-in-chief, defendants can ask preliminary

background questions to identify that witness and place his or her testimony in context.

        (11) On or before noon on Friday, June 26, 2020, the parties shall file trial briefs of no more

than 20 pages in length. In their brief, the Plaintiff shall identify the theory underlying each claim,

and the anticipated proof to support that claim. Plaintiffs shall also brief the issue of damages for

each claim, identifying the elements thereof, and whether, for a particular claim, the amount (if any)

is for the Court or jury to decide. The parties shall also brief the issue as to whether wrestling is a

“sport” or “entertainment.”

        (12) The trial will be bifurcated as between liability and compensatory damages, and punitive

damages, although the jury will determine in the first phase whether an award of punitive damages

is warranted.

        (13) Vulgar language will not be used during trial, and the witnesses will be so instructed by

counsel. If it becomes necessary for a curse word to be used, the witness shall spell it for the jury,

and thereafter refer to the word by its first initial.

        (15) Plaintiffs’ First Motion in Limine (Doc. No. 145) to preclude Defendant from offering

testimony or evidence related to Jeff Jarrett’s conduct while intoxicated resulting from his

alcoholism is DENIED. Of course, any questioning on this issue must be relevant and temporally


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related to the issues in dispute.

        (16) Plaintiffs’ Second Motion in Limine (Doc. No. 147) to (a) exclude references to Global

Force Entertainment’s master recordings as “raw,” “raw footage,” “unedited,” or “unfinished”; (b)

exclude all references to the One Night Only shows as “broadcast ready” or “fully edited”; (3)

require that Global Force Entertainment, Inc.’s original master recordings be referred to as such or

as “Global Masters” and (4) require that the One Night Only shows titled GFW Amped Anthology

be referred to by that description or by the phrase “Amped Anthology” is DENIED.

        (17) Defendant’s Motion in Limine to Exclude the Expert Report of Glenn Purdue (Doc. No.

149) is TAKEN UNDER ADVISEMENT pending a Daubert hearing to be held at 9:00 a.m. on

June 25, 2020.

        (18) Defendant’s Motion in Limine to Exclude Plaintiffs’ Sixth Document Production (Doc.

No. 155) is GRANTED IN PART, DENIED IN PART, and RESERVED IN PART. The Motion

is DENIED as to publicly available information on the Web, and videos purchased by Jeffrey Jarrett.

The motion is GRANTED as to any documents evidencing actual confusion relative to Defendant’s

use of Global Force’s mark. The Motion is RESERVED as to the email and attachments from

Edward Nordholm.

        (19) Defendant’s Motion in Limine to Exclude Hearsay Testimony and Documentary

Evidence of Consumer Confusion (Doc. No. 156) is GRANTED IN PART and RESERVED IN

PART. The Motion is GRANTED as to social media evidence of confusion that was produced after

discovery closed. The Motion is RESERVED as to Jeffrey Jarrett’s testimony, specifically whether

his testimony is based upon personal knowledge and not hearsay.

        (20) Defendant’s Motion in Limine to Exclude Spreadsheets Not Created in the Normal

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Course of Business (Doc. No. 157) is RESERVED. Prior to the introduction of such evidence,

Plaintiffs must first establish through Leonard Asper or another witness that the spreadsheets were

truly business records, with the understanding that the Court is not persuaded that Anthem is in the

business of mergers and acquisitions.

       (21) Defendant’s Motion in Limine to Exclude Evidence of Anthem’s Corporate Structure

and Financial Situation (Doc. No. 158) is RESERVED and will be taken up at the Daubert hearing

on June 25, 2020.

       (22) Defendant’s Motion in Limine to Exclude Any Testimony or Oral Agreement

Inconsistent with Discovery Responses (Doc. No. 159) is DENIED.

       (23) Plaintiffs claims for false designation of origin and trademark name infringement are

VOLUNTARILY DISMISSED.

       IT IS SO ORDERED.



                                              __________________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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